        Case 2:17-cv-05421-WB Document 33 Filed 09/26/18 Page 1 of 1



                       IN THE UNITED ST ATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEBRA FRAZIER, LA VER~E VANN,                               CIVIL ACTION
ANTHONY BURTON, SHAMAL
BRYANT, THE GUARDIAN CIVIC
LEAGt;E, PHILADELPHIA CHAPTER
OF THE NATIONAL ASSOCIATION OF
BLACK LAW ENFORCEMENT                                       NO. 17-5421
OFFICERS,
                Plaintiffs,

               v.
                                                                             FILED
CITY OF PHILADELPHIA, CHIEF
INSPECTOR ANTHONY BOYLE,        :                                            SEP 2 6 2018
RAYMOND EVERS AND JOHN DOES #1- :                                         KATE BARKMAN, Clerk
100,                            i                                       By           Dep. Clerk
               Defendants.

                                           ORDER

       AND NOW, this 26th day of September, 2018, upon consideration of Plaintiffs' Motion

to Compel Defendants' Response to Plaintiffs' Supplemental Discovery Requests (ECF No. 29),

IT IS ORDERED that the Motion is DENIED WITHOUT PREJUDICE. Plaintiffs shall file

a new motion within two weeks (14 days) of this order, and include citation to legal authority.




                                                     WENDY BEETLESTONE, J.
